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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA, STATE OF
ARKANSAS, STATE OF CALIFORNIA, STATE
OF FLORIDA, STATE OF GEORGIA, STATE OF
INDIANA, COMMONWEALTH OF KENTUCKY,         Case No. 1:20-cv-03010-APM
STATE OF LOUISIANA, STATE OF MICHIGAN,
STATE OF MISSISSIPPI, STATE OF MISSOURI,
STATE OF MONTANA, STATE OF SOUTH
                                           HON. AMIT P. MEHTA
CAROLINA, STATE OF TEXAS, AND STATE
OF WISCONSIN,

                        Plaintiffs,

v.

GOOGLE LLC,

                        Defendant.


STATE OF COLORADO, STATE OF
NEBRASKA, STATE OF ARIZONA, STATE
OF IOWA, STATE OF NEW YORK, STATE
OF NORTH CAROLINA, STATE OF
TENNESSEE, STATE OF UTAH, STATE OF
ALASKA, STATE OF CONNECTICUT,
STATE OF DELAWARE, DISTRICT OF
COLUMBIA, TERRITORY OF GUAM,               Case No. 1:20-cv-03715-APM
STATE OF HAWAII, STATE OF ILLINOIS,
STATE OF KANSAS, STATE OF MAINE,           HON. AMIT P. MEHTA
STATE OF MARYLAND,
COMMONWEALTH OF MASSACHUSETTS,
STATE OF MINNESOTA, STATE OF
NEVADA, STATE OF NEW HAMPSHIRE,
STATE OF NEW JERSEY, STATE OF NEW
MEXICO, STATE OF NORTH DAKOTA,
STATE OF OHIO, STATE OF OKLAHOMA,
STATE OF OREGON, COMMONWEALTH
OF PENNSYLVANIA, COMMONWEALTH
OF PUERTO RICO, STATE OF RHODE
ISLAND, STATE OF SOUTH DAKOTA,
STATE OF VERMONT, COMMONWEALTH
OF VIRGINIA, STATE OF
WASHINGTON,STATE OF WEST
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 VIRGINIA, AND STATE OF WYOMING,
                       Plaintiffs,

 v.

 GOOGLE LLC,

                              Defendant.




                            LIST OF EXHIBITS TO
                PLAINTIFFS’ STATEMENT OF GENUINE ISSUES &
            PLAINTIFFS’ COUNTERSTATEMENT OF MATERIAL FACTS




January 26, 2023 [Corrected Feb. 9, 2023]
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Dated: January 26, 2023           Respectfully submitted,


                                  By:    /s/ Kenneth M. Dintzer
                                  Kenneth M. Dintzer
                                  Matthew C. Hammond
                                  Elizabeth S. Jensen
                                  Karl E. Herrmann (D.C. Bar No. 1022464)
                                  U.S. Department of Justice, Antitrust Division
                                  Technology & Digital Platforms Section
                                  450 Fifth Street NW, Suite 7100
                                  Washington, DC 20530
                                  Telephone: (202) 227-1967
                                  Kenneth.Dintzer2@usdoj.gov

                                  Counsel for Plaintiff United States of America


                                  By:    /s/ Margaret Sharp
                                  Ken Paxton, Attorney General
                                  James Lloyd, Chief, Antitrust Division
                                  Margaret Sharp, Assistant Attorney General
                                  Office of the Attorney General, State of Texas
                                  300 West 15th Street
                                  Austin, Texas 78701
                                  Margaret.Sharp@oag.texas.gov

                                  Counsel for Plaintiff State of Texas


                                  By:     /s/ Matthew Michaloski
                                  Theodore Edward Rokita, Attorney General
                                  Scott L. Barnhart, Chief Counsel and Director,
                                  Consumer Protection Division
                                  Matthew Michaloski, Deputy Attorney General
                                  Christi Foust, Deputy Attorney General
                                  Office of the Attorney General, State of Indiana
                                  Indiana Government Center South, Fifth Floor
                                  302 West Washington Street
                                  Indianapolis, Indiana 46204
                                  Matthew.Michaloski@atg.in.gov

                                  Counsel for Plaintiff State of Indiana
Case 1:20-cv-03010-APM Document 544-3 Filed 03/13/23 Page 37 of 59




                              By:     /s/ Keaton Barnes
                              Keaton Barnes
                              Arkansas Bar No. 2022161
                              Assistant Attorney General
                              Office of Tim Griffin, Attorney General
                              323 Center Street, Suite 200
                              Little Rock, AR 72201
                              Keaton.Barnes@ArkansasAG.gov

                              Counsel for Plaintiff State of Arkansas


                              By:    /s/ Brian Wang
                              Rob Bonta, Attorney General
                              Ryan J. McCauley, Deputy Attorney General
                              Brian Wang, Deputy Attorney General
                              Henry Cornillie, Deputy Attorney General
                              Paula Blizzard, Supervising Deputy Attorney
                              General
                              Office of the Attorney General,
                              California Department of Justice
                              455 Golden Gate Avenue, Suite 11000
                              San Francisco, California 94102
                              Brian.Wang@doj.ca.gov

                              Counsel for Plaintiff State of California


                              By:     /s/ Lee Istrail
                              Ashley Moody, Attorney General
                              R. Scott Palmer, Special Counsel, Complex
                              Enforcement Chief, Antitrust Division
                              Nicholas D. Niemiec, Assistant Attorney General
                              Lee Istrail, Assistant Attorney General
                              Office of the Attorney General, State of Florida
                              PL-01 The Capitol
                              Tallahassee, Florida 32399
                              Lee.Istrail@myfloridalegal.com
                              Scott.Palmer@myfloridalegal.com

                              Counsel for Plaintiff State of Florida
Case 1:20-cv-03010-APM Document 544-3 Filed 03/13/23 Page 38 of 59




                              By:    /s/ Daniel Walsh
                              Christopher Carr, Attorney General
                              Margaret Eckrote, Deputy Attorney General
                              Daniel Walsh, Senior Assistant Attorney General
                              Charles Thimmesch, Assistant Attorney General
                              Office of the Attorney General, State of Georgia
                              40 Capitol Square, SW
                              Atlanta, Georgia 30334-1300
                              cthimmesch@law.georgia.gov

                              Counsel for Plaintiff State of Georgia


                              By:     /s/ Philip R. Heleringer
                              Daniel Cameron, Attorney General
                              J. Christian Lewis, Commissioner of the Office of
                              Consumer Protection
                              Philip R. Heleringer, Executive Director of the
                              Office of Consumer Protection
                              Jonathan E. Farmer, Deputy Executive Director
                              of the Office of Consumer Protection
                              Office of the Attorney General, Commonwealth
                              of Kentucky
                              1024 Capital Center Drive, Suite 200
                              Frankfort, Kentucky 40601
                              Philip.Heleringer@ky.gov

                              Counsel for Plaintiff Commonwealth of Kentucky


                              By:    /s/ Christopher J. Alderman
                              Jeff Landry, Attorney General
                              Christopher J. Alderman, Assistant Attorney
                              General
                              Office of the Attorney General, State of
                              Louisiana
                              Public Protection Division
                              1885 North Third St.
                              Baton Rouge, Louisiana 70802
                              AldermanC@ag.louisiana.gov

                              Counsel for Plaintiff State of Louisiana
Case 1:20-cv-03010-APM Document 544-3 Filed 03/13/23 Page 39 of 59




                              By:    /s/ Scott Mertens
                              Dana Nessel, Attorney General
                              Scott Mertens, Assistant Attorney General
                              Michigan Department of Attorney General
                              P.O. Box 30736
                              Lansing, Michigan 48909
                              MertensS@michigan.gov

                              Counsel for Plaintiff State of Michigan


                              By:    /s/ Stephen M. Hoeplinger
                              Stephen M. Hoeplinger
                              Assistant Attorney General
                              Missouri Attorney General’s Office
                              815 Olive St., Suite 200
                              St. Louis, Missouri 63101
                              Stephen.Hoeplinger@ago.mo.gov

                              Counsel for Plaintiff State of Missouri


                              By:    /s/ Hart Martin
                              Lynn Fitch, Attorney General
                              Hart Martin, Special Assistant Attorney General
                              Crystal Utley Secoy, Assistant Attorney General
                              Office of the Attorney General, State of
                              Mississippi
                              P.O. Box 220
                              Jackson, Mississippi 39205
                              Hart.Martin@ago.ms.gov

                              Counsel for Plaintiff State of Mississippi
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                              By: /s/ Anna Schneider
                              Anna Schneider
                              Bureau Chief
                              Montana Office of Consumer Protection
                              P.O. Box 200151
                              Helena, MT. 59602-0150
                              Phone: (406) 444-4500
                              Fax: 406-442-1894
                              Anna.schneider@mt.gov

                              Counsel for Plaintiff State of Montana


                              By:    /s/ Mary Frances Jowers
                              Alan Wilson, Attorney General
                              W. Jeffrey Young, Chief Deputy Attorney
                              General
                              C. Havird Jones, Jr., Senior Assistant Deputy
                              Attorney General
                              Mary Frances Jowers, Assistant Deputy Attorney
                              General
                              Rebecca M. Hartner, Assistant Attorney General
                              Office of the Attorney General, State of South
                              Carolina
                              1000 Assembly Street
                              Rembert C. Dennis Building
                              P.O. Box 11549
                              Columbia, South Carolina 29211-1549
                              mfjowers@scag.gov

                              Counsel for Plaintiff State of South Carolina


                              By:    /s/ Gwendolyn J. Lindsay Cooley
                              Joshua L. Kaul, Attorney General
                              Gwendolyn J. Lindsay Cooley, Assistant
                              Attorney General
                              Wisconsin Department of Justice
                              17 W. Main St.
                              Madison, Wisconsin 53701
                              Gwendolyn.Cooley@Wisconsin.gov

                              Counsel for Plaintiff State of Wisconsin
Case 1:20-cv-03010-APM Document 544-3 Filed 03/13/23 Page 41 of 59




                              FOR PLAINTIFF STATE OF COLORADO:

                              PHILIP WEISER
                              Attorney General

                              Jonathan B. Sallet
                              Special Assistant Attorney General

                              /s/ Jonathan B. Sallet
                              Jonathan B. Sallet, DC Bar No. 336198
                              Jon.Sallet@coag.gov
                              Steven M. Kaufmann, DC Bar No. 1022365
                              (inactive)
                              Steve.Kaufmann@coag.gov
                              Carla Baumel
                              Carla.Baumel@coag.gov
                              Elizabeth W. Hereford
                              Elizabeth.Hereford@coag.gov
                              Colorado Office of the Attorney General
                              1300 Broadway, 7th Floor
                              Denver, CO 80203
                              Tel: 720-508-6000

                              William F. Cavanaugh , Jr.
                              PATTERSON BELKNAP WEBB & TYLER
                              LLP
                              1133 Avenue of the Americas
                              Suite 2200
                              New York, NY 10036-6710
                              212-335-2793
                              Email: wfcavanaugh@pbwt.com

                              Counsel for Plaintiff Colorado
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                              FOR PLAINTIFF STATE OF NEBRASKA:

                              MIKE HILGERS
                              Attorney General

                              Joseph M. Conrad, Assistant Attorney General
                              Colin P. Snider, Assistant Attorney General
                              Matthew K. McKinley, Special Assistant
                              Attorney General
                              Nebraska Department of Justice
                              Office of the Attorney General
                              2115 State Capitol
                              Lincoln, NE 68509
                              Telephone: (402) 471-3840
                              Joseph.Conrad@nebraska.gov
                              Colin.snider@nebraska.gov
                              Matt.Mckinley@nebraska.gov

                              William F. Cavanaugh , Jr.
                              PATTERSON BELKNAP WEBB & TYLER
                              LLP
                              1133 Avenue of the Americas
                              Suite 2200
                              New York, NY 10036-6710
                              212-335-2793
                              Email: wfcavanaugh@pbwt.com

                              Counsel for Plaintiff Nebraska


                              FOR PLAINTIFF STATE OF ARIZONA:

                              KRISTIN K. MAYES
                              Attorney General

                              Robert A. Bernheim, Unit Chief Counsel
                              Arizona Office of the Attorney General
                              400 West Congress, Ste. S-315
                              Tucson, Arizona 85701
                              Tel: (520) 628-6507
                              Robert.bernheim@azag.gov

                              Counsel for Plaintiff Arizona
Case 1:20-cv-03010-APM Document 544-3 Filed 03/13/23 Page 43 of 59




                              FOR PLAINTIFF STATE OF IOWA:

                              BRENNA BIRD
                              Attorney General

                              Noah Goerlitz, Assistant Attorney General
                              Office of the Attorney General of Iowa
                              1305 E. Walnut St., 2nd Floor
                              Des Moines, IA 50319
                              Tel: (515) 725-1018
                              Noah.goerlitz@ag.iowa.gov

                              Counsel for Plaintiff Iowa


                              FOR PLAINTIFF STATE OF NEW YORK:

                              LETITIA JAMES
                              Attorney General

                              Elinor R. Hoffmann
                              Morgan J. Feder
                              Michael Schwartz
                              Office of the Attorney General of New York
                              28 Liberty Street, 21st Floor
                              New York, NY 10005
                              212-416-8513
                              Elinor.hoffmann@ag.ny.gov
                              Morgan.feder@ag.ny.gov
                              Michael.schwartz@ag.ny.gov

                              Counsel for Plaintiff New York
Case 1:20-cv-03010-APM Document 544-3 Filed 03/13/23 Page 44 of 59




                              FOR PLAINTIFF STATE OF NORTH
                              CAROLINA:

                              JOSH STEIN
                              Attorney General

                              Kunal Janak Choksi
                              Joshua Daniel Abram
                              Jonathan R. Marx
                              Jessica Vance Sutton
                              North Carolina Department of Justice
                              114 W. Edenton St.
                              Raleigh, NC 27603
                              919-716-6000
                              kchoksi@ncdoj.gov
                              jabram@ncdoj.gov
                              jmarx@ncdoj.gov
                              jsutton2@ncdoj.gov

                              Counsel for Plaintiff North Carolina


                              FOR PLAINTIFF STATE OF TENNESSEE:

                              JONATHAN SKRMETTI
                              Attorney General

                              J. David McDowell
                              Chris Dunbar
                              Office of the Attorney General and Reporter
                              P.O. Box 20207
                              Nashville.TN 37202
                              (615) 741-8722
                              David.McDowell@ag.tn.gov
                              Chris.Dunbar@ag.tn.gov

                              Counsel for Plaintiff Tennessee
Case 1:20-cv-03010-APM Document 544-3 Filed 03/13/23 Page 45 of 59




                              FOR PLAINTIFF STATE OF UTAH:

                              SEAN D. REYES
                              Attorney General

                              Scott R. Ryther
                              Tara Pincock
                              Utah Office of Attorney General
                              160 E 300 S, 5th Floor
                              P.O. Box 142320
                              Salt Lake City, Utah 84114
                              385-881-3742
                              sryther@agutah.gov
                              tpincock@agutah.gov

                              Counsel for Plaintiff Utah


                              FOR PLAINTIFF STATE OF ALASKA:

                              TREG TAYLOR
                              Attorney General

                              Jeff Pickett
                              State of Alaska, Department of Law
                              Office of the Attorney General
                              1031 W. Fourth Avenue, Suite 200
                              Anchorage, Alaska 99501
                              Tel: (907) 269-5100
                              Jeff.pickett@alaska.gov

                              Counsel for Plaintiff Alaska
Case 1:20-cv-03010-APM Document 544-3 Filed 03/13/23 Page 46 of 59




                              FOR PLAINTIFF STATE OF CONNECTICUT:
                              WILLIAM TONG
                              Attorney General

                              Nicole Demers
                              Office of the Attorney General of Connecticut
                              165 Capitol Avenue, Suite 5000
                              Hartford, CT 06106
                              860-808-5202
                              Nicole.demers@ct.gov

                              Counsel for Plaintiff Connecticut


                              FOR PLAINTIFF STATE OF DELAWARE:

                              KATHY JENNINGS
                              Attorney General

                              Michael Andrew Undorf
                              Delaware Department of Justice
                              Fraud and Consumer Protection Division
                              820 N. French St., 5th Floor
                              Wilmington, DE 19801
                              302-577-8924
                              Michael.undorf@delaware.gov

                              Counsel for Plaintiff Delaware


                              FOR PLAINTIFF DISTRICT OF COLUMBIA:

                              BRIAN SCHWALB
                              Attorney General

                              Elizabeth Gentry Arthur
                              Office of the Attorney General for the District of
                              Columbia
                              400 6th Street NW
                              Washington, DC 20001
                              202-724-6514
                              Elizabeth.arthur@dc.gov

                              Counsel for Plaintiff District of Columbia
Case 1:20-cv-03010-APM Document 544-3 Filed 03/13/23 Page 47 of 59




                              FOR PLAINTIFF TERRITORY OF GUAM:

                              DOUGLAS MOYLAN
                              Attorney General

                              Fred Nishihira, Chief, Consumer Protection
                              Division
                              Office of the Attorney General of Guam
                              590 S. Marine Corps Drive, Suite 901
                              Tamuning, Guam 96913
                              Tel: (671) 475-3324

                              Counsel for Plaintiff Guam


                              FOR PLAINTIFF STATE OF HAWAI‘I:

                              ANNE E. LOPEZ
                              Attorney General

                              Rodney I. Kimura
                              Department of the Attorney General, State of
                              Hawai‘i
                              Commerce & Economic Development
                              425 Queen Street
                              Honolulu, HI 96813
                              808-586-1180
                              Rodney.i.kimura@hawaii.gov

                              Counsel for Plaintiff Hawai‘i
Case 1:20-cv-03010-APM Document 544-3 Filed 03/13/23 Page 48 of 59




                              FOR PLAINTIFF STATE OF IDAHO:

                              RAÚL LABRADOR
                              Attorney General

                              John K. Olson
                              Office of the Idaho Attorney General
                              Consumer Protection Division
                              954 W. State St., 2nd Floor
                              P.O. Box 83720
                              Boise, ID 83720
                              208-334-4114
                              Brett.delange@ag.idaho.gov
                              John.olson@ag.idaho.gov

                              Counsel for Plaintiff Idaho


                              FOR PLAINTIFF STATE OF ILLINOIS:

                              KWAME RAOUL
                              Attorney General

                              Elizabeth Maxeiner
                              Brian Yost
                              Office of the Attorney General of Illinois
                              100 W. Randolph St.
                              Chicago, IL 60601
                              773-590-7935
                              Elizabeth.maxeiner@ilag.gov
                              Brian.yost@ilag.gov

                              Counsel for Plaintiff Illinois
Case 1:20-cv-03010-APM Document 544-3 Filed 03/13/23 Page 49 of 59




                              FOR PLAINTIFF STATE OF KANSAS:

                              KRIS W. KOBACH
                              Attorney General

                              Lynette R. Bakker
                              Kansas Office of the Attorney General
                              120 S.W. 10th Avenue., 2nd Floor
                              Topeka, KS 66612
                              Tel: (785) 296-3751
                              Lynette.bakker@ag.ks.gov

                              Counsel for Plaintiff Kansas


                              FOR PLAINTIFF STATE OF MAINE:

                              AARON M. FREY
                              Attorney General

                              Christina M. Moylan
                              Office of the Attorney General of Maine
                              6 State House Station
                              August, ME 04333
                              207-626-8800
                              Christina.moylan@maine.gov

                              Counsel for Plaintiff Maine
Case 1:20-cv-03010-APM Document 544-3 Filed 03/13/23 Page 50 of 59




                              FOR PLAINTIFF STATE OF MARYLAND:

                              ANTHONY G. BROWN
                              Attorney General

                              Schonette J. Walker
                              Gary Honick
                              Office of the Attorney General of Maryland
                              200 St. Paul Place, 19th Floor
                              Baltimore, MD 21202
                              410-576-6480
                              swalker@oag.state.md.us
                              ghonick@oag.state.md.us

                              Counsel for Plaintiff Maryland


                              FOR PLAINTIFF COMMONWEALTH
                              MASSACHUSETTS:

                              ANDREA CAMPBELL
                              Attorney General

                              William T. Matlack
                              Michael B. MacKenzie
                              Office of the Attorney General of Massachusetts
                              One Ashburton Place, 18th Fl.
                              Boston, MA 02108
                              Tel: (617) 727-2200
                              William.matlack@mass.gov
                              Michael.Mackenzie@mass.gov

                              Counsel for Plaintiff Massachusetts
Case 1:20-cv-03010-APM Document 544-3 Filed 03/13/23 Page 51 of 59




                              FOR PLAINTIFF STATE MINNESOTA:

                              KEITH ELLISON
                              Attorney General

                              Zachary William Biesanz
                              Office of the Minnesota Attorney General
                              Consumer, Wage, and Antitrust Division
                              445 Minnesota Street, Suite 1400
                              St. Paul, MN 55101
                              651-757-1257
                              Zach.biesanz@ag.state.mn.us

                              Counsel for Plaintiff Minnesota


                              FOR PLAINTIFF STATE OF NEVADA:

                              AARON D. FORD
                              Attorney General

                              Michelle Christine Newman
                              Lucas J. Tucker
                              Nevada Office of the Attorney General
                              100 N. Carson Street
                              Carson City, NV 89701
                              775-684-1164
                              mnewman@ag.nv.gov
                              ltucker@ag.nv.gov

                              Counsel for Plaintiff Nevada
Case 1:20-cv-03010-APM Document 544-3 Filed 03/13/23 Page 52 of 59




                              FOR PLAINTIFF STATE OF NEW
                              HAMPSHIRE:

                              JOHN FORMELLA
                              Attorney General

                              Brandon Garod
                              Office of Attorney General of New Hampshire
                              33 Capitol Street
                              Concord, NH 03301
                              603-271-1217
                              Brandon.h.garod@doj.nh.gov

                              Counsel for Plaintiff New Hampshire


                              FOR PLAINTIFF STATE OF NEW JERSEY:

                              MATT PLATKIN
                              Attorney General

                              Isabella R. Pitt
                              Deputy Attorney General
                              New Jersey Attorney General’s Office
                              124 Halsey Street, 5th Floor
                              Newark, NJ 07102
                              973-648-7819
                              Isabella.Pitt@law.njoag.gov

                              Counsel for Plaintiff New Jersey
Case 1:20-cv-03010-APM Document 544-3 Filed 03/13/23 Page 53 of 59




                              FOR PLAINTIFF STATE OF NEW MEXICO:

                              RAUL TORREZ
                              Attorney General

                              Judith E. Paquin
                              Cholla Khoury
                              Assistant Attorney General
                              New Mexico Office of the Attorney General
                              408 Galisteo St.
                              Santa Fe, NM 87504
                              Tel: 505-490-4885
                              jpaquin@nmag.gov
                              ckhoury@nmag.gov

                              Counsel for Plaintiff New Mexico


                              FOR PLAINTIFF STATE NORTH DAKOTA:

                              DREW WRIGLEY
                              Attorney General

                              Elin S. Alm
                              Assistant Attorney General
                              Consumer Protection and Antitrust Division
                              Office of the Attorney General of North Dakota
                              1720 Burlington Drive, Suite C
                              Bismarck, ND 58504
                              701-328-5570
                              ealm@nd.gov

                              Counsel for Plaintiff North Dakota
Case 1:20-cv-03010-APM Document 544-3 Filed 03/13/23 Page 54 of 59




                              FOR PLAINTIFF STATE OHIO:

                              DAVE YOST
                              Attorney General

                              Jennifer Pratt
                              Beth Ann Finnerty
                              Mark Kittel
                              Office of the Attorney General of Ohio
                              30 E Broad Street, 26th Floor
                              Columbus, OH 43215
                              614-466-4328
                              Jennifer.pratt@ohioattorneygeneral.gov
                              Beth.finnerty@ohioattorneygeneral.gov
                              Mark.kittel@ohioattorneygeneral.gov

                              Counsel for Plaintiff Ohio


                              FOR THE PLAINTIFF STATE OKLAHOMA:

                              GENTNER DRUMMOND
                              Attorney General

                              Caleb J. Smith
                              Office of the Oklahoma Attorney General
                              313 NE 21st St
                              Oklahoma City, OK 73105
                              Tel: (405) 522-1014
                              Caleb.Smith@oag.ok.gov

                              Counsel for Plaintiff Oklahoma
Case 1:20-cv-03010-APM Document 544-3 Filed 03/13/23 Page 55 of 59




                              FOR PLAINTIFF STATE OREGON:

                              ELLEN ROSENBLUM
                              Attorney General

                              Cheryl Hiemstra
                              Oregon Department of Justice
                              1162 Court St. NE
                              Salem, OR 97301
                              503-934-4400
                              Cheryl.hiemstra@doj.state.or.us

                              Counsel for Plaintiff Oregon


                              FOR PLAINTIFF COMMONWEALTH
                              PENNSYLVANIA:

                              MICHELLE HENRY
                              Attorney General

                              Tracy W. Wertz
                              Joseph S. Betsko
                              Pennsylvania Office of Attorney General
                              Strawberry Square
                              Harrisburg, PA 17120
                              Tel: (717) 787-4530
                              jbetsko@attorneygeneral.gov
                              twertz@attorneygeneral.gov

                              Counsel for Plaintiff Pennsylvania
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                              FOR PLAINTIFF TERRITORY PUERTO
                              RICO:

                              DOMINGO HERNANDEZ
                              Attorney General

                              Guarionex Diaz Martinez
                              Assistant Attorney General
                              Antitrust Division
                              Puerto Rico Department of Justice
                              P.O. Box 9020192
                              San Juan, Puerto Rico 00902
                              Tel: (787) 721-2900, ext. 1201
                              gdiaz@justicia.pr.gov

                              Counsel for Plaintiff Puerto Rico


                              FOR PLAINTIFF STATE RHODE ISLAND:

                              PETER NERONHA
                              Attorney General

                              Stephen Provazza
                              Rhode Island Office of the Attorney General
                              150 South Main Street
                              Providence, RI 02903
                              Tel: (401) 274-4400
                              SProvazza@riag.ri.gov

                              Counsel for Plaintiff Rhode Island
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                              FOR PLAINTIFF STATE SOUTH DAKOTA:

                              MARTY J. JACKLEY
                              Attorney General

                              Yvette K. Lafrentz
                              Office of the Attorney General of South Dakota
                              1302 E. Hwy 14, Suite 1
                              Pierre, SD 57501
                              605-773-3215
                              Yvette.lafrentz@state.sd.us

                              Counsel for Plaintiff South Dakota



                              FOR PLAINTIFF STATE VERMONT:

                              CHARITY R. CLARK
                              Attorney General

                              Christopher J. Curtis
                              Assistant Attorney General
                              Office of the Attorney General of Vermont
                              109 State St.
                              Montpelier, VT 05609
                              802-828-3170
                              Ryan.kriger@vermont.gov

                              Counsel for Plaintiff Vermont
Case 1:20-cv-03010-APM Document 544-3 Filed 03/13/23 Page 58 of 59




                              FOR PLAINTIFF COMMONWEALTH
                              VIRGINIA:

                              JASON S. MIYARES
                              Attorney General

                              Tyler T. Henry
                              thenry@oag.state.va.us
                              Office of the Attorney General of Virginia
                              202 N. 9th Street
                              Richmond, VA 23219
                              Tel: (804) 692-0485

                              Counsel for Plaintiff Virginia


                              FOR PLAINTIFF STATE WASHINGTON:

                              BOB FERGUSON
                              Attorney General

                              Amy Hanson
                              Washington State Attorney General
                              800 Fifth Avenue, Suite 2000
                              Seattle, WA 98104
                              206-464-5419
                              Amy.hanson@atg.wa.gov

                              Counsel for Plaintiff Washington
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                              FOR PLAINTIFF STATE WEST VIRGINIA:

                              PATRICK MORRISEY
                              Attorney General

                              Douglas Lee Davis
                              Office of the Attorney General, State of West
                              Virginia
                              1900 Kanawha Boulevard, East
                              Building 6, Suite 402
                              P.O. Box 1789
                              Charleston, WV 25305
                              304-558-8986
                              Douglas.l.davis@wvago.gov

                              Counsel for Plaintiff West Virginia


                              FOR PLAINTIFF STATE WYOMING:

                              BRIDGET HILL
                              Attorney General

                              Benjamin Peterson
                              Wyoming Attorney General’s Office
                              2320 Capitol Avenue
                              Kendrick Building
                              Cheyenne, WY 82002
                              (307) 777-6397
                              Benjamin.peterson2@wyo.gov

                              Counsel for Plaintiff Wyoming
